                                                                                                               Form:def3AP

                                    UNITED STATES BANKRUPTCY COURT
                                          Eastern District of Michigan
                                             211 West Fort Street
                                               Detroit, MI 48226


   In Re: (NAME OF DEBTOR(S))                                     Case No.: 21−42581−mar
   Moose M. Scheib                                                Chapter 7
                                                                  Judge: Mark A. Randon

   Kelly Silvera Jarrett                                          Adv. Proc. No. 21−04167−mar
   Plaintiff

   v.

   Moose M. Scheib
   Defendant

                                         NOTICE OF DEFICIENT FILING
It has been determined that the following document:

21 − Notice of Appearance and Request for Notice Filed by Defendant Moose M. Scheib . (ckata)

Proof of Service Non−Compliant. A case caption is needed for a Proof of Service. Certificate of Service Required. A
party serving a Paper shall file a Certificate of Service. The Certificate shall state the Paper served, the manner in
which service was accomplished, and the parties served. This certificate of service may not be included as part of the
Paper that was served; it shall be a separate filing.

is defective as indicated:

        Amended Document Missing
        Bankruptcy Matter Civil Case Cover Sheet Missing
        Brief Missing
        Docket Number Missing
        Electronic Signature does not match login
        Electronic Signature Missing or Incorrect Format ECF Procedure 11 d−1
        Notice to Respondent Missing or Non−Compliant
        Original Signature Missing or Non−Compliant
        Proof of Service Missing or Non−Compliant
        Proposed Order Missing
        Redacted Document Missing or Non−Compliant
        Statement of Corporate Ownership Missing
A corrected/missing document must be filed with the court within seven (7) days of this notice. If not corrected, an
order striking the document from the record may be entered by the Court. The new document filed should be
identified as "CORRECTED".

Dated: 5/23/22




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                                         BY THE COURT

                                         Todd M. Stickle
                                         Clerk, U.S. Bankruptcy Court




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                                                               United States Bankruptcy Court
                                                                Eastern District of Michigan
Jarrett,
      Plaintiff                                                                                                         Adv. Proc. No. 21-04167-mar
Scheib,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0645-2                                                   User: admin                                                                 Page 1 of 1
Date Rcvd: May 23, 2022                                                Form ID: def3AP                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                 Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                  regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 25, 2022:
Recip ID                 Recipient Name and Address
dft                    + Moose M. Scheib, 15 Bradford Ct., Unit 27, Dearborn, MI 48126-4170

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 25, 2022                                            Signature:            /s/Gustava Winters




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 23, 2022 at the address(es) listed below:
Name                               Email Address
Paul F. Doherty
                                   on behalf of Plaintiff Kelly Silvera Jarrett pdoherty@venjohnsonlaw.com
                                   mhunter@venjohnsonlaw.com;jbrown@venjohnsonlaw.com


TOTAL: 1




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